                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF VIRGINIA

                                        Richmond Division

 UNITED STATES OF AMERICA                         )
                                                  )
          v.                                      )        CRIMINAL NO. 3:06-cr-264
                                                  )
 LAMONT E. McCORD,                                )        CIVIL NO. 3:20-cv-421
                                                  )
                Defendant.                        )

               Government’s Response in Opposition to Defendant’s Petition for
                       Habeas Relief Under Rehaif v. United States

       The defendant has filed a habeas petition under 28 U.S.C. § 2255 arguing that his

conviction for possessing a firearm while a convicted felon is defective in light of Rehaif v.

United States, 139 S. Ct. 2191 (2019). He also alleges that he received ineffective assistance of

counsel due to his counsel’s asserted conflict of interest and failure to challenge the

government’s purported breach of his plea agreement. (ECF Nos. 32–33.)

       The defendant cannot make either the actual-innocence or cause-and-prejudice showing

necessary to reach the merits of his procedurally defaulted Rehaif claim. His ineffectiveness

claim is also unavailing. The Court should therefore deny the petition.

                              Factual and Procedural Background

       On July 20, 2006, the defendant was charged by criminal complaint with one count of

being a felon in possession of a firearm, in violation of 18 U.S.C. § 922(g). (ECF No. 1.) On

August 2, 2006, a grand jury sitting in the Eastern District of Virginia indicted the defendant for

this offense. (ECF No. 8.) On September 21, 2006, the defendant appeared before District

Judge Richard L. Williams and pleaded guilty. (ECF Nos. 18–20.)

       According to the Statement of Facts submitted as part of the plea proceedings, three law

enforcement officers observed the defendant enter a convenience store in Richmond, Virginia,
while wearing an “‘all-white,’ ‘nice,’ ‘ENYCE’ outfit.” (ECF No. 20 ¶ 3.) Earlier that day,

several witnesses had identified a man matching this description as having been involved with

drug trafficking and violent robberies in that area of south Richmond. (Id. ¶ 2.)

       The officers entered the same convenience store and introduced themselves to the

defendant. (Id. ¶ 4.) They asked if he was in possession of any firearms, and the defendant

“notably hesitated before responding, ‘no.’” (Id. ¶ 5.) The defendant also appeared to be under

the influence of narcotics. (Id.) His speech was “slow” and his eyes were “partially closed.”

(Id.) The officers advised the defendant that they were going to conduct a pat down for

weapons. (Id.) He did not object or otherwise try to leave. (Id.)

       In patting down the defendant, the officers found a 9mm handgun tucked in his

waistband. (Id. ¶ 6.) The officers arrested the defendant after confirming that he had “several

felony convictions punishable by imprisonment of one year or more, to include a June 16, 2005

conviction for of [sic] Possession of Cocaine with Intent to Distribute in the Circuit Court of the

City of Richmond.” (Id. ¶ 7.)

       Critically for present purposes, the defendant agreed in the Statement of Facts that his

conduct was done “unlawfully, knowingly, and willfully, and without legal justification or

excuse with the specific intent to do that which the law forbids, and not by mistake, accident or

any other reason.” (Id. ¶ 10.) The Court accepted the defendant’s guilty plea and, in February

2007, imposed a sentence of 96 months’ incarceration. (ECF Nos. 24-25.)

       In January 2007, the defendant was separately indicted by a grand jury sitting in the

Eastern District of Virginia for conspiracy to distribute illegal narcotics, in violation of 21 U.S.C.

§ 846; use and carry of a firearm during a drug trafficking crime causing the death of another, in

violation of 18 U.S.C. § 924(j); and conspiracy to use and carry firearms, in violation of

18 U.S.C. § 924(o). In December 2007, the defendant was cumulatively sentenced to


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600 months’ incarceration for these offenses. (Case No. 3:06-cr-387, ECF No. 78.)

       The defendant filed his pro se habeas petition in June 2020. (ECF Nos. 32–33.) The

primary argument in the petition is that the defendant’s § 922(g) conviction is invalid under

Rehaif. There, the Supreme Court held that § 922 does not criminalize a defendant’s “innocent

mistake” and that a conviction under § 922(g) therefore requires “knowledge of [the] status” that

renders firearm possession unlawful. 139 S. Ct. at 2197; see also id. at 2198 (explaining that

§ 922(g) does not criminalize possession of a firearm by a convicted felon who was “sentenced

only to probation … [and] who [did] not know that the crime [was] ‘punishable by imprisonment

for a term exceeding one year’”). The defendant’s habeas petition argues Rehaif rendered his

indictment, conviction, and plea agreement defective because the government did not prove that

he knew he “belonged to a prohibited person category.” (ECF No. 33 at 2–3.)

       The defendant also briefly argues that he received ineffective assistance of counsel

because his lawyer had a conflict of interest and failed to challenge the government’s purported

breach of his plea agreement. (ECF No. 33 at 3–4.)

                                           Argument

       For the reasons appearing below, the Court should deny the habeas petition.

I.     The record now includes more evidence of the defendant’s knowledge of his
       prohibited status.

       On August 14, 2020, the Court granted the government’s motion to expand the record

under Rule 7 of the Rules Governing § 2255 Proceedings. More specifically, the Court

expanded the record to include a written notification by “Virginia Probation and Parole, District

One” regarding “Firearms and Ammunition,” which was signed by the defendant on August 1,

1994. (ECF No. 39-1.) The document unequivocally sets forth that it is unlawful to purchase,

carry, own, or possess firearms or ammunition for “any person convicted of a crime, punishable



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by imprisonment, for a term exceeding one year, whether or not such sentence was imposed or

served.” (Id.) It goes on to say that the defendant, as a felon, “thoroughly” understands that he

“cannot purchase, carry, own or possess firearms or ammunition.” (Id.)

       For the reasons set forth below, the record here more than establishes that the defendant

was aware of his status as a felon. That knowledge, in turn, forecloses his Rehaif claim.

II.    The defendant cannot overcome his procedural default on his Rehaif claim.

       As an initial matter, the government accepts that Rehaif is retroactive on collateral

review. Rehaif altered the elements that must be proven to sustain a conviction under § 922(g),

meaning that Rehaif narrowed the “class of persons that the law punishes.” Welch v. United

States, 136 S. Ct. 1257, 1267 (2016) (applying retroactivity principles under Teague v. Lane,

489 U.S. 288 (1989)). The Supreme Court has previously recognized that a defendant may bring

a habeas petition challenging his conviction in similar circumstances. See, e.g., Davis v. United

States, 417 U.S. 333, 346 (1974) (holding that a habeas petition is cognizable when, based on a

change in the law subsequent to his conviction, a defendant claims that his “conviction and

punishment are for an act that the law does not make criminal”).

       Even so, by not raising his constitutional attack on his § 922(g) conviction before that

conviction became final, the defendant procedurally defaulted it. Bousley v. United States,

523 U.S. 614, 621–22 (1998); United States v. Fugit, 703 F.3d 248, 253–54 (4th Cir. 2012).

That default “may be excused in two circumstances: where a person attacking his conviction can

establish (1) that he is ‘actually innocent’ or (2) ‘cause’ for the default and ‘prejudice resulting

therefrom.” Fugit, 703 F.3d at 253 (quoting Bousley, 523 U.S. at 621). The defendant cannot

satisfy either standard.

       A.      The defendant cannot demonstrate actual innocence.

       To begin, the defendant is not actually innocent of violating § 922(g). “To establish

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actual innocence, petitioner must demonstrate that, in light of all the evidence, it is more likely

than not that no reasonable juror would have convicted him.” Bousley, 523 U.S. at 623 (internal

quotation marks omitted). “‘[A]ctual innocence’ means factual innocence, not mere legal

insufficiency.” Id. at 623–24 (citing Sawyer v. Whitley, 505 U.S. 333, 339 (1992)).

       The defendant cannot make this showing. Record evidence indicates that the defendant

was aware that he was a felon at the time he unlawfully possessed the firearm giving rise to his

§ 922(g) conviction. That is sufficient to defeat a Rehaif claim. See Rehaif, 139 S. Ct. at 2200

(holding only that the government has to prove “both that the defendant knew he possessed a

firearm and that he knew he belonged to the relevant category of persons barred from possessing

a firearm”). Rehaif nowhere held that the government has to prove the defendant’s knowledge of

the unlawfulness of possessing a firearm as a convicted felon, a burden normally reserved for

statutes requiring proof of “willfulness.” Cheek v. United States, 498 U.S. 192, 199 (1991).

Thus, even after Rehaif, a § 922(g) conviction does not require knowledge of the unlawfulness of

a possessing a firearm as a convicted felon, but instead only knowledge that one is a felon. See,

e.g., United States v. Maez, 960 F.3d 949, 954 (7th Cir. 2020) (“We do not read Rehaif as

imposing a willfulness requirement on § 922(g) prosecutions.”); United States v. Davies,

942 F.3d 871, 874 (8th Cir. 2019) (Rehaif requires that a defendant “know only that he had been

convicted of a crime punishable by imprisonment for a term exceeding one year at the time he

possessed the firearms”); United States v. Bowens, 938 F.3d 790, 797 (6th Cir. 2019) (“Rehaif

did not graft onto § 922(g) an ignorance-of-the-law defense by which every defendant could

escape conviction if he was unaware of this provision of the United States Code.”).

       Here, the record demonstrates that the defendant was aware of his prohibited status.

       First, the defendant endorsed the Statement of Facts, which specified that the “acts”

taken by the defendant were done “unlawfully, knowingly, and willfully, and without legal


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justification or excuse with the specific intent to do that which the law forbids, and not by

mistake, accident or any other reason.” (ECF No. 20 ¶ 10.) These “acts” include the agreed fact

that the defendant had “several felony convictions punishable by imprisonment of one year or

more” and that he nevertheless possessed a “Sturm Ruger & Company, Model P95DC, 9mm

semiautomatic pistol.” (Id. at ¶¶ 7-8, 11.) Beyond the assertion of willfulness in the statement of

facts, the PSR indicates that the defendant “freely admitted his guilt in court” and “admitted to

the criminal conduct as outlined in his written Statement of Facts” when interviewed by his

probation officer. (PSR ¶ 12.)

       Indeed, given the admissions in his Statement of Facts, the defendant’s argument is

barred by United States v. Lemaster, 403 F.3d 216 (4th Cir. 2005). There, the Fourth Circuit

stated stated that, absent “extraordinary circumstances … allegations in a § 2255 motion that

directly contradict the petitioner’s sworn statements made during a properly conducted Rule 11

colloquy are always ‘palpably incredible’ and ‘patently frivolous or false,’” such that “a district

court should, without holding an evidentiary hearing, dismiss any § 2255 motion that necessarily

relies on allegations that contradict the sworn statements.” Id. at 221–22 (internal citations

omitted).

       Here, the defendant admitted that he acted “with the specific intent to do that which the

law forbids, and not by mistake, accident or any other reason.” (ECF No. 20 ¶ 10.) To act with

“specific intent” to violate the law, the defendant must have possessed the firearm with the

“purpose or desire” to violate § 922(g). Oxygene v. Lynch, 813 F.3d 541, 548–49 (4th Cir. 2016)

(describing “specific intent … as akin to purpose or desire, rather than mere knowledge”);

accord Black’s Law Dictionary (11th ed. 2019) (defining “specific intent” as “[t]he intent to

accomplish the precise criminal act that one is later charged with”). This agreed-upon

concession destroys any Rehaif claim. The defendant cannot have been ignorant of his status as


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a convicted felon if he acted with specific intent to violate the statutory prohibition on convicted

felons possessing firearms. Accordingly, under Lemaster, the Court should dismiss the

defendant’s Rehaif claim.

       Second, the recitation of facts in the PSR indicates that this was not the defendant’s first

conviction for being a felon in possession of a firearm. On June 21, 1995, he was convicted by

the Richmond Circuit Court for carrying a firearm after having been convicted of a felony.

(Id. ¶ 12.) Thus, when the defendant was arrested in July 2006, and was again in possession of a

firearm, he was aware of his prohibited status by virtue of his previous arrest and state conviction

for the same offense.

       Third, the record in this case demonstrates that the defendant was aware of the

prohibition on convicted felons possessing firearms. That, too, makes it impossible for him to

prove his actual innocence. The defendant signed an express acknowledgment in 1994 that he

was not eligible to “purchase, carry, own or possess firearms or ammunition.” (ECF No. 39-1.)

While Rehaif does not require such knowledge, where a defendant is aware of the felon-in-

possession ban that fact makes it impossible for him to prove his actual innocence. See United

States v. Payne, 964 F.3d 652, 656 (7th Cir. 2020) (holding, on plain-error review, that prior

“admonitions [about felon-in-possession limitations] would have made [the defendant] aware not

only of his status, but also of the criminal prohibition against his possessing a firearm because of

his status, more than is required to prove the Rehaif element”).

       Fourth, the defendant’s state record as documented in the PSR demonstrates that the

defendant was aware of his prohibited status. The Court found his criminal history category to

be VI—the highest under the Sentencing Guidelines. (PSR ¶ 84.) Indeed, prior to his July 2006

arrest for this case, he had been convicted of at least six felonies by the Commonwealth of

Virginia. (Id. at ¶¶ 16, 22, 24.) More specifically:


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              In June 1992, he was convicted of felony possession of cocaine, and sentenced to
               10 years with 7 years suspended. (Id. ¶ 16.)

              In December 1992, he was convicted of felony possession of cocaine as well as
               possession with intent to distribute cocaine. He received sentences of 5 years for
               both offenses, all of which was initially suspended. (Id. ¶ 22.)

              In June 1995, he was convicted of possession of cocaine with intent to distribute,
               possession of cocaine and a firearm, and possession of a firearm by a convicted
               felon. He was sentenced to 13 years, with 8 years suspended, for the distribution
               offense; 3 years for the possession of cocaine and a firearm; and 5 years, all
               suspended, for possessing a firearm as a convicted felon. (Id. at 24.)

       Separate and apart from the sentences imposed for his prior felonies, the defendant had

served substantial time in prison at the time of his arrest for the instant offense. Specifically, as a

result of the three felony convictions in 1992, the PSR indicates that the defendant was

incarcerated from April 1993 to July 1994. (Id. ¶ 16.) The defendant therefore served a sentence

in excess of one year as a result of his first three state felony convictions. Furthermore, as a

result of the felony convictions in 1995, the PSR says that the defendant was incarcerated from

December 1994 to March 2001. (Id. ¶¶ 16, 22, 24.) This was a lengthy sentence of more than

six years.

       These prior periods of incarceration are incompatible with the defendant’s current Rehaif

claim, as they render wholly implausible the assertion that he was unaware that he had been

convicted of a crime punishable by more than one year in prison. See, e.g., United States v.

Raymore, 965 F.3d 475, 486 (6th Cir. 2020) (holding defendant could not show plain error after

a jury trial in light of past felony convictions, including for being a felon-in-possession); United

States v. Huntsberry, 956 F.3d 270, 285 (5th Cir. 2020) stating that “there is little possibility that

[a defendant] was ignorant of his status as a convicted felon” when he had previously been

convicted of a felony sex offense and received a two-year suspended sentence); United States v.

Miller, 954 F.3d 551, 560 (2d Cir. 2020) (“The PSR shows that Mack’s prior conviction, for the


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unlawful theft and alteration of a firearm, resulted in a total effective sentence of ten years’

imprisonment, with execution suspended after three years, which removes any doubt that Mack

was aware of his membership in § 922(g)(1)’s class.”); United States v. Reed, 941 F.3d 1018,

1022 (11th Cir. 2019) (holding that defendant could not show plain error necessary to vacate his

guilty plea where the PSR indicated that he “had served a minimum of 18 years in prison before

being arrested for possessing the firearm”); United States v. Hollingshed, 940 F.3d 410, 416

(8th Cir. 2019), cert. denied, 140 S. Ct. 2545 (Mar. 23, 2020) (defendant could not show Rehaif

error in light of having served a four-year prison sentence).

       To be sure, there could be a defendant who, due to the unusual procedural posture of his

case or the idiosyncratic nature of his sentence, might not have been aware that his underlying

conviction was for a felony offense. Rehaif itself recognized as much. See 139 S. Ct. at 2198

(explaining that § 922(g) should not be read to criminalize gun possession where “a person …

was convicted of a prior crime but sentenced only to probation … [and] does not know that the

crime is ‘punishable by imprisonment for a term exceeding one year’” (quoting 18 U.S.C.

§ 922(g)(1)). But that is not this case, because here, the record indicates that the defendant was

aware that he had previously convicted of a crime punishable by more than one year of

incarceration. See, e.g., United States v. Williams, 946 F.3d 968, 973 (7th Cir. 2020) (explaining

that someone who spent more than ten years in prison for a prior offense could not “plausibly

argue that he did not know his conviction had a maximum punishment exceeding a year”);

United States v. Mayo, No. 4:12-cr-32-3 (JLK), 2020 WL 2476167, at *2 (W.D. Va. May 13,

2020) (holding that a defendant asserting a Rehaif claim had not made a viable claim of actual

innocence where he “made no argument that he did not commit the crime alleged, and the record

is devoid of any facts to support such an argument”).

       In sum, the defendant cannot make an actual-innocence showing on this record.


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        B.     The defendant cannot show cause for his default.

        The defendant also cannot show cause for his default.

        One way to establish cause would be to argue that Rehaif was so novel that no reasonable

litigant would have thought to challenge a § 922(g) conviction on the grounds that knowledge of

one’s prohibited status was an element of the offense. For instance, the defendant says in his

pleading that he did not raise this argument because “the Supreme Court decision in Rehaif …

didn’t exist then.” (ECF No. 33 at 2.) But the Supreme Court has already explained that “futility

cannot constitute cause if it means simply that a claim was ‘unacceptable to that particular court

at that particular time.’” Bousley, 523 U.S. at 623 (quoting Engle v. Isaac, 456 U.S. 107, 130

n.35 (1982)). To the extent that an exception to this rule exists for truly novel claims, see Reed

v. Ross, 468 U.S. 1, 16–17 (1984), that exception is too narrow to accommodate the defendant’s

case.

        In determining whether a claim is novel enough to establish cause for a procedural

default, the relevant inquiry is not “whether subsequent legal developments have made counsel’s

task easier, but whether at the time of the default the claim was ‘available’ at all.” Smith v.

Murray, 477 U.S. 527, 537 (1986). Any novelty argument here is incompatible with both

Bousley and binding Circuit precedent. In United States v. Sanders, 247 F.3d 139 (4th Cir.

2001), for example, the Fourth Circuit concluded that an Apprendi claim was not novel enough

to excuse a procedural default, favorably citing a Seventh Circuit case reaching the same

conclusion as to a defendant sentenced in 1992, a full eight years before Apprendi was decided.

Id. at 145–46 (citing United States v. Smith, 241 F.3d 546 (7th Cir. 2001)). Sanders cautioned

that liberally construing arguments as novel enough to satisfy the cause-and-prejudice exception

to procedural default would threaten to a create a world in which “[c]ollateral review would

come … to serve as an all-purposive receptacle for claims which in hindsight appear more


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promising than they did at the time of trial.” Id. at 146.

       The same reasoning applies here. Had the defendant wanted to raise a Rehaif-type claim

about his § 922(g) conviction, he was entirely capable of doing so—just like a defendant who

wanted to raise an Apprendi-style claim in 1992. Accord Dugger v. Adams, 489 U.S. 401, 409–

10 (1989) (concluding that a claim was not novel where “the legal basis for a challenge was

plainly available”); Frizzell v. Hopkins, 87 F.3d 1019, 1021 (8th Cir. 1996) (“If the tools were

available for a petitioner to construct the legal argument at the time of the state appeals process,

then the claim cannot be said to be so novel as to constitute cause for failing to raise it earlier.”

(citation and internal quotation marks omitted)). And indeed, the Fourth Circuit had previously

rejected a Rehaif-type claim in 1978, underscoring that the interpretation of § 922(g) proffered

by the defendant in Rehaif was not novel at all. See United States v. Williams, 588 F.2d 92, 92–

93 (4th Cir. 1978) (per curiam). Consistent with Sanders, the defendant’s failure to raise such a

claim earlier is therefore not excusable on novelty grounds. See Mayo, 2020 WL 2476167, at *2

(“Given the plethora of challenges levied against § 922(g), Petitioner’s claim does not qualify as

novel.” (citing Williams and other circuit-level cases)).

       Another way to establish cause for a procedural default would be to show that defense

counsel performed deficiently by failing to raise a particular claim. See Murray v. Carrier,

477 U.S. 478, 488 (1986). The defendant makes a similar suggestion as “ground four” in his pro

se motion to the court. (ECF No. 23 at 3.) This argument cannot overcome his procedural

default. The general rule is that “an attorney’s failure to anticipate a new rule of law [is] not

constitutionally deficient.” United States v. McNamara, 74 F.3d 514, 516 (4th Cir. 1996); see

also United States v. Dyess, 730 F.3d 354, 363 (4th Cir. 2013) (holding that a defense attorney’s

failure to anticipate Apprendi did not constitute deficient performance). That principle applies

equally to Rehaif claims. See United States v. Finley, 805 F. App’x 823, 827 (11th Cir. 2020)


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(rejecting Rehaif-based ineffectiveness claim because “precedent clearly forecloses an

ineffective-assistance-of-counsel claim based on failure to raise an objection that would not

succeed under current law, but which could succeed depending on a forthcoming Supreme Court

decision”); United States v. Sumlin, No. 18-CR-682 (SHS), 2020 WL 3318207, at *5 (S.D.N.Y.

June 18, 2020 (“[A]n attorney is not required to forecast changes or advances in the law in order

to provide effective assistance.” (quoting United States v. Kimber, 777 F.3d 553, 563 (2d Cir.

2015))).

       C.      The defendant cannot show prejudice resulting from his default.

       Even if the defendant could establish cause for his procedural default based on Rehaif’s

purported novelty, he still cannot show prejudice.

       When a defendant has “not attempt[ed] to withdraw his guilty plea in the district court,

[the Fourth Circuit] review[s] his plea challenge for plain error.” United States v. Lockhart,

947 F.3d 187, 191 (4th Cir. 2020) (en banc) (citing United States v. McCoy, 895 F.3d 358, 364

(4th Cir. 2018)). A defendant satisfies the plain-error standard by demonstrating “(1) an error

was made; (2) the error is plain; (3) the error affects substantial rights; and (4) the error seriously

affects the fairness, integrity, or public reputation of judicial proceedings.” United States v.

Harris, 890 F.3d 480, 491 (4th Cir. 2018). On collateral review, the prejudice standard is more

exacting still. See United States v. Frady, 456 U.S. 152, 166 (1982) (rejecting “use of the ‘plain

error’ standard to review [a] § 2255 motion” and stating “that to obtain collateral relief a prisoner

must clear a significantly higher hurdle than would exist on direct appeal”); accord United States

v. Maybeck, 23 F.3d 888, 891 (4th Cir. 1994) (“hold[ing] that the Frady cause and prejudice

standard applies to … collateral challenges to unappealed guilty pleas”).

       When raising a forfeited attack on a guilty plea, a defendant can only demonstrate that an

error affected his substantial rights (or establish prejudice on collateral review) by “show[ing] a

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reasonable probability that, but for the error, he would not have entered the plea.” United States

v. Dominguez Benitez, 542 U.S. 74, 76 (2004). A defendant must satisfy this standard even if he

establishes that the district court committed an error in his plea colloquy. See, e.g., United States

v. Cannady, 283 F.3d 641, 647–48 (4th Cir. 2002). Here, the defendant cannot make the

requisite showing.

        The evidence of the defendant’s knowledge of his prohibited status was overwhelming.

As explained above, that evidence included (i) multiple prior felony convictions for very serious

state crimes; (ii) the fact that he served substantial prison time (more than seven years) on his

state convictions, thereby making plain that those offenses were punishable by more than one

year of incarceration; (iii) the fact that the defendant had been previously convicted of a state

felon-in-possession offense before committing his federal § 922(g) offense and had signed a

document putting him on notice of the felon-in-possession prohibition in § 922(g)(1); and

(iv) the Statement of Facts, in which the defendant agreed that he acted willfully and with

specific intent to violate the law.

        Because the government clearly would have been able to prove the defendant’s

knowledge of his prohibited status, the defendant’s decision whether or not to plead guilty would

not have been affected by the new rule announced by Rehaif. He thus cannot show prejudice

sufficient to overcome his procedural default. As the Fifth Circuit has explained:

        Demonstrating prejudice under Rehaif will be difficult for most convicted felons
        for one simple reason: Convicted felons typically know they’re convicted felons.
        And they know the Government would have little trouble proving that they knew.
        So it is hard to imagine how their conviction or guilty plea was prejudiced by any
        error under Rehaif.

United States v. Lavalais, 960 F.3d 180, 184 (5th Cir. 2020); see also, e.g., United States v.

Bates, 960 F.3d 1278, 1296 (11th Cir. 2020) (“Had the government been required to prove that

Bates knew he was a felon at the time he possessed a firearm, there is overwhelming evidence to


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show that it would have easily done so…. Had Bates known that the government needed to

prove that he knew he was a felon, the probability is virtually zero that it would have changed his

decision to plead guilty.”).

       Indeed, the Eleventh Circuit has specifically addressed how a prior conviction for being a

felon-in-possession vitiates a Rehaif claim. The defendant here pleaded guilty in Richmond

Circuit Court to possessing a firearm as a convicted felon in June of 1995. (PSR ¶ 24.) As the

Eleventh Circuit put it when holding that two defendants could not establish plain error under

Rehaif on direct appeal:

       [B]oth Appellants were previously convicted of violating 18 U.S.C § 922(g), the
       very statute at issue here. Moore and Miller were sentenced to 92 and 57 months,
       respectively, for those convictions. Remarkably, Moore even bears a tattoo of the
       number 92 on his left arm, representing the length of his previous sentence. It is
       also telling that both Appellants stipulated to their prior felonies, presumably to
       keep the jury from hearing any details of those convictions. Thus, the record clearly
       establishes that both Appellants knew they were felons.

United States v. Moore, 954 F.3d 1322, 1337–38 (11th Cir. 2020). Here, as in Moore, the

defendant’s prior conviction for a firearms offense establishes that he knew not just of his own

prohibited status, but of the unlawfulness of his conduct in possessing a firearm. That fact alone

forecloses his Rehaif claim.

       The defendant may argue in reply that this Court, in conducting its prejudice analysis,

should consider only the evidence introduced at trial and should not consider, for example,

evidence in the PSR or elsewhere that bears on the defendant’s knowledge of his prohibited

status. With respect to cases on direct appeal, at least five circuits have disagreed in the context

of plain-error review. See United States v. Owens, 966 F.3d 700, 706-07 (8th Cir. 2020) (“The

full record shows that the government could have offered reliable evidence of Owens’s criminal

history at trial if it had been relevant under the prevailing law.”); United States v. Johnson, 963

F.3d 847, 852 (9th Cir. 2020) (holding that it is permissible to “review the entire record on


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appeal—not just the record adduced at trial—in assessing whether [a defendant] has satisfied the

fourth prong of plain-error review”); United States v. Staggers, 961 F.3d 745, 756 (5th Cir. 2020)

(concluding that, in light of extra-record evidence, “the district court’s error [did] not

significantly affect the fairness, integrity, or public reputation of judicial proceedings, so we will

not exercise our discretion to correct it”); United States v. Maez, 960 F.3d 949, 959–63 (7th Cir.

2020) (holding that, in light of extra-record evidence, the defendant could not show prejudice

sufficient to satisfy the third-prong of plain-error review and also failed on the fourth prong of

plain-error review); United States v. Miller, 954 F.3d 551, 559–60 (2d Cir. 2020) (“We will not

penalize the government for its failure to introduce evidence that it had but that, prior to Rehaif,

it would have been precluded from introducing.”) (explaining that denying relief did not

“seriously affect the fairness, integrity, or public reputation of judicial proceedings”). Given that

the cause-and-prejudice standard is more exacting than plain-error review, see Frady, 456 U.S.

at 166, it follows a fortiori that this Court can consider such evidence in a habeas proceeding.

       This is not to say that no defendant will ever be able to establish Rehaif prejudice. For

example, the Seventh Circuit has held that in a prosecution for possessing a firearm after having

been convicted of a crime of domestic violence under 18 U.S.C. § 922(g)(9), a defendant could

show plain error on direct appeal where the defendant did not have a lawyer in state court, the

state charging instrument cited a non-existent statute, and the guilty-plea questionnaire was

“incomplete and unclear.” United States v. Triggs, 963 F.3d 710, 716 (7th Cir. 2020). But any

similar concerns are absent here. The defendant therefore cannot establish prejudice sufficient to

escape his procedural default.

III.   Any Rehaif error was harmless.

       In addition, any Rehaif error here was harmless.

       Once direct review is completed, “a presumption of finality and legality attaches to the

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conviction and sentence,” Brecht v. Abrahamson, 507 U.S. 619, 633 (1993) (citation omitted),

and courts are “entitled to presume” that the defendant’s conviction and sentence are lawful,

United States v. Frady, 456 U.S. 152, 164 (1982). That “presumption of regularity ... makes it

appropriate to assign a proof burden to the defendant” on collateral review. Parke v. Raley,

506 U.S. 20, 31 (1992); see Hawk v. Olson, 326 U.S. 271, 279 (1945) (explaining that a prisoner

necessarily “carries the burden in a collateral attack on a judgment”).

       The Fourth Circuit and other courts have agreed that a defendant carries the burden of

showing a constitutional violation. See, e.g., United States v. Pettiford, 612 F.3d 270, 277

(4th Cir. 2010) (“[T]he district court must determine whether the [§ 2255 movant] has met his

burden of showing that this sentence is unlawful on one of the specified grounds.”); Miller v.

United States, 261 F.2d 546, 547 (4th Cir. 1958) (“Because the proceeding under 28 U.S.C.

§ 2255 is a civil collateral attack upon the judgment of conviction, the burden of proof is upon

the petitioner to establish by a preponderance of evidence that he did not intelligently waive his

right to assistance of counsel.”); accord United States v. Brown, 957 F.3d 679, 690 (6th Cir.

2020) (“A petitioner bears the burden of proof in a § 2255 proceeding ….”).

       An error is harmless on collateral review unless it had a “substantial and injurious effect”

on the defendant’s conviction. United States v. Smith, 723 F.3d 510, 517 (4th Cir. 2013); accord

Barnes v. Thomas, 938 F.3d 526, 533 n.3 (4th Cir. 2019) (explaining that the Brecht standard is a

“‘less onerous harmless-error standard’ than the requirement on direct appeal that an error be

proven ‘harmless beyond a reasonable doubt’” (quoting Brecht, 507 U.S. at 623)); cf. Davis v.

Ayala, 135 S. Ct. 2187, 2197 (2015) (“In a collateral proceeding, the test is different. For

reasons of finality, comity, and federalism, habeas petitioners ‘are not entitled to habeas relief

based on trial error unless they can establish that it resulted in ‘actual prejudice.’” (quoting

Brecht, 507 U.S. at 637; United States v. Lane, 474 U.S. 438, 449 (1986))).


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       The defendant here cannot meet his burden to show that any Rehaif error had a

“substantial and injurious effect” on his proceedings. As discussed above, ample facts

demonstrate the defendant’s knowledge of his felon status. Proof of such knowledge forecloses

any meritorious Rehaif claim.

IV.    Any error here, even if structural, does not require automatic vacatur of the
       defendant’s guilty plea.

       The government notes that in United States v. Gary, 954 F.3d 194 (4th Cir. 2020), the

Fourth Circuit recently held that failure to advise a defendant facing a felon-in-possession charge

during a plea colloquy of the requirement to prove awareness of his prohibited status, as required

by Rehaif, was a structural error requiring vacatur of the plea, even on plain-error review. See

Gary, 954 F.3d at 202–03. Gary does not, however, require the grant of habeas relief on

collateral review.

       The United States unsuccessfully sought rehearing en banc in Gary and agrees with the

increasing number of courts of appeals that have expressly rejected Gary since it was decided.

See United States v. Gary, 963 F.3d 420, 420 (Wilkinson, J., concurring in denial of rehearing en

banc) (“I concur in the denial of rehearing en banc for one reason and one reason only. The

panel’s holding is so incorrect and on an issue of such importance that I think the Supreme Court

should consider it promptly.”); accord United States v. Coleman, 961 F.3d 1024, 1029 (8th Cir.

2020) (holding that a Rehaif error in plea proceedings is not structural because it “does not defy

harmless-error standards and the resulting harm is not indeterminate”); United States v. Trujillo,

60 F.3d 1196, 1205 (10th Cir. 2020) (“[W]e are not persuaded we should expand the limited

number of structural errors to include those in which a district court fails to inform a defendant

of the knowledge-of-status element of a felon in possession charge under 18 U.S.C.

§ 922(g)(1).”); United States v. Hicks, 958 F.3d 399, 401 (5th Cir. 2020) (“[W]e have not



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considered Rehaif errors to warrant automatic reversal.”).1

        But even accepting that Gary is binding in this Circuit for Rehaif claims raised on direct

appeal, Gary nonetheless has important limitations on its scope. Gary did not purport to address

how structural errors are treated on collateral review. But when a defendant has procedurally

defaulted a claim of structural error, the defendant must show actual prejudice, either to satisfy

the cause-and-prejudice standard or to demonstrate that the error was not harmless. See, e.g.,

Ambrose v. Booker, 684 F.3d 638, 649 (6th Cir. 2012) (“[P]etitioners must show actual prejudice

to excuse their default, even if the error is structural.” (citing Francis v. Henderson, 425 U.S.

536, 542 n.6 (1976); Davis v. United States, 411 U.S. 233, 245 (1973)); Hunt v. Houston,

563 F.3d 695, 704 n.2 (8th Cir. 2009) (“[A] finding of structural error does not obviate a

petitioner’s obligation to show prejudice when attempting to overcome a state procedural

default.”); Thornburg v. Mullin, 422 F.3d 1113, 1141 (10th Cir. 2005) (“[E]ven structural errors

are subject to state procedural bars.”); Ward v. Hinsley, 377 F.3d 719, 725–26 (7th Cir. 2004)

(“[T]he procedural default doctrine does not seek to distinguish claims of trial error from claims

of structural error.”).

        One court of appeals has stated that, when a defendant has a claim of structural error,

such a claim obviates the need to show prejudice on collateral review. See Owens v. United

States, 483 F.3d 48, 65–66 (1st Cir. 2007). But the Supreme Court expressly abrogated Owens



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      The Eleventh Circuit has rejected Gary’s reasoning without expressly citing it. See United
States v. Bates, 960 F.3d 1278, 1296 (11th Cir. 2020) (“Bates cannot credibly contend that he
would have changed his decision to plead guilty and, instead, have opted for the government to
prove that he knew he was a felon by offering evidence related to all seven of his prior
convictions.”) (declining to find plain error where defendant raised a forfeited Rehaif attack on
his guilty plea on direct appeal).
     The Sixth Circuit held, pre-Rehaif, that constitutional defects in plea proceedings are not
necessarily structural. See Ruelas v. Wolfenbarger, 580 F.3d 403, 410–11 (6th Cir. 2009)
(assessing such an error under the Brecht harmlessness standard).
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in Weaver v. Massachusetts, 137 S. Ct. 1899, 1907 (2017). Weaver explained that the type of

error addressed by Owens—a denial of a defendant’s right to a public trial—does not necessarily

“render[] a trial fundamentally unfair in every case.” 137 S. Ct. at 1910. Weaver went on to

hold that the defendant there had not shown sufficient prejudice in the context of an ineffective

assistance of counsel claim to justify habeas relief. In doing so, Weaver distinguished structural

errors raised on direct appeal from those raised for the first time in a collateral attack. As

Weaver explained, when structural errors are reversed on direct appeal, “there may be a

reasonable chance that not too much time will have elapsed for witness memories still to be

accurate and physical evidence not to be lost.” Id. at 1912. But when such claims are raised in

collateral review, “the costs and uncertainties of a new trial are greater because more time will

have elapsed in most cases.” Id. The Supreme Court’s rejection of the First Circuit’s approach

to prejudice in a case involving structural error cautions against extending Gary’s logic to

defaulted Rehaif claims raised for the first time on collateral review.

       Indeed, even on direct appeal, the Supreme Court has made clear that structural errors do

not require automatic vacatur on plain-error review. In United States v. Cotton, 535 U.S. 625

(2002), for example, the Supreme Court considered how to evaluate a forfeited Apprendi claim

on plain-error review where the indictment failed to charge a required drug weight. Even

assuming that the charging error was structural, Cotton held that the defendant’s conviction

remained valid because the evidence of drug weight at trial was “overwhelming.” Id. at 622–23.

For that reason, failing to correct the Apprendi error “did not seriously affect the fairness,

integrity, or public reputation of judicial proceedings.” Id. The same reasoning applies with

even more force on collateral review, where the defendant must show more than plain error to

obtain relief. See Frady, 456 U.S. at 166. Cases holding that, on direct appeal, courts may

consider evidence outside the record in conducting a plain-error assessment reinforce the


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conclusion that a Rehaif error should not result in automatic habeas relief. See supra Part II

(citing Owens, 2020 WL 3980243, at *3; Johnson, 963 F.3d at 852; Staggers, 961 F.3d at 756;

Maez, 960 F.3d at 959–63; Miller, 954 F.3d at 559 n.23).

        Here, of course, the evidence of defendant’s knowledge of his prohibited status is strong.

His signed an express acknowledgement of his prohibited status as a felon. At the time of his

arrest, the defendant had been convicted of no fewer than six prior state felonies. As noted

above, the Court in sentencing the defendant found that his criminal history category was VI—

the highest under the Sentencing Guidelines. As a result of these convictions, he had been

incarcerated for more than seven years at the time of his arrest for the instant offense. If all this

were not enough, he agreed in the Statement of Facts that he violated the law willfully and with

specific intent. It strains credulity to suggest that he was not aware of his prohibited status as a

felon in light of the full record.

        The defendant’s procedural default therefore remains fatal to his habeas claim.

V.      There was no fatal defect in the defendant’s indictment.

        In his pro se filing, the defendant also argues that his indictment is “invalid” because the

“government didn’t provide the grand jury with all the elements required to adequately bring a

charge of 922(g).” (ECF No. 32 at 4.) The Court could construe this argument as a contention

that procedural-default rules do not apply here because district courts lack jurisdiction to

adjudicate criminal charges where a required element is missing from the indictment.

        That is wrong. The Supreme Court long ago addressed this issue in Lamar v. United

States, 240 U.S. 60 (1916). As Justice Holmes there explained:

        [N]othing can be clearer than that the district court, which has jurisdiction of all
        crimes cognizable under the authority of the United States, acts equally within its
        jurisdiction whether it decides a man to be guilty or innocent under the criminal
        law, and whether its decision is right or wrong. The objection that the indictment



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       does not charge a crime against the United States goes only to the merits of the
       case.

Id. at 64–65 (internal citations omitted). The Supreme Court reaffirmed this principle in Cotton,

where it held “that defects in an indictment do not deprive a court of its power to adjudicate a

case.” 535 U.S. at 631. Instead, as Cotton explained, such defects are, when raised for the first

time after trial, simply reviewed under the rubric of plain error. And here, on collateral review,

where his burden is more difficult to satisfy, see Frady, 456 U.S. at 166, the defendant cannot

show prejudice from any purported defect in the indictment given the strong evidence about his

knowledge of his felon status.

       As the Fourth Circuit noted in a subsequent case, “[s]ubject-matter jurisdiction (in the

sense of judicial power) over federal criminal prosecutions is conferred on district courts by

18 U.S.C. § 3231.” United States v. Hartwell, 448 F.3d 707, 716 (4th Cir. 2006). And indeed,

several courts have concluded that the omission of an allegation of knowledge of status in an

indictment is not a defect requiring vacatur of a conviction. See United States v. Moore,

954 F.3d 1322, 1336 (11th Cir. 2020) (“[T]he law is clear: the omission of an element in an

indictment does not deprive the district court of subject matter jurisdiction.”); United States v.

Balde, 943 F.3d 73, 91 (2d Cir. 2019) (holding that an indictment being defective under Rehaif

“does not mean that the indictment fails to allege a federal offense in the sense that would speak

to the district court’s power to hear the case.”). This Court should do the same.

VI.    Even if the Court were to grant the defendant’s Rehaif claim, the appropriate
       remedy is not a judgment of acquittal.

       Under 28 U.S.C. § 2255, when a district court concludes that habeas relief is appropriate,

“the court shall vacate and set the judgment aside and shall [i] discharge the prisoner [ii] or

resentence him [iii] or grant a new trial [iv] or correct the sentence as may appear appropriate.”

28 U.S.C. § 2255(b) (bracketed text added). In the words of the Fourth Circuit, a grant of habeas


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relief thus necessarily results in “one of the following: (1) the prisoner’s release, (2) the grant of

a future new trial to the prisoner, (3) or a new sentence, be it imposed by (a) a resentencing or

(b) a corrected sentence.” United States v. Hadden, 475 F.3d 652, 661 (4th Cir. 2007). A district

court acts within its discretion in determining “the form of relief [it] awards to a successful

§ 2255 petitioner.” Id. at 667 (citing United States v. Torres-Otero, 232 F.3d 24, 29–30

(1st Cir. 2000); United States v. Gordon, 156 F.3d 376, 381 (2d Cir. 1998)). Irrespective of the

remedy selected, “the goal of § 2255 review is to place the defendant ‘in exactly the same

position he would have been’ had there been no error in the first instance.” Id. at 665 (quoting

United States v. Silvers, 90 F.3d 95, 99 (4th Cir. 1996)).

       Because the defendant attacks the validity of his plea, the grant of habeas relief would not

result in a judgment of acquittal but rather vacatur of the plea. Generally speaking, the

defendant would then have the right to plead anew or go to trial. See, e.g., United States v. Carr,

271 F.3d 172, 180 (4th Cir. 2001). But here, the defendant served a 96-month sentence on his

§ 922 conviction, and he is still serving a 600-month sentence on his later drug, murder, and

firearm convictions from December 2007. (Case No. 3:06-cr-00387, ECF No. 79.) Accordingly,

if the Court were to grant habeas relief, the government has no objection to the Court simply

vacating the felon-in-possession conviction, entering a corrected judgment, and returning the

$100 special assessment.

VII.   The defendant’s ineffective-assistance claim is unavailing.

       The defendant also brings a claim of ineffective assistance of counsel, asserting that his

trial lawyer did not hold the government to its plea bargain and otherwise had a conflict of

interest. (ECF No. 32 at 8; ECF No. 33 at 3–4.) There are several problems with this claim.

       First, the defendant has not demonstrated that his claim is timely. Under 28 U.S.C.

§ 2255(f)(1), the default rule is that a habeas petition must be filed within one year of a

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conviction becoming final. Here, the conviction became final when the defendant’s time to file a

direct appeal expired in 2007, over ten years ago. Cf. Clay v. United States, 537 U.S. 522, 527

(2003). To be sure, § 2255(f)(4) states that, if the defendant’s timeliness argument depends on

newly discovered facts, the one-year deadline restarts on “the date on which the facts supporting

the claim or claims presented could have been discovered through the exercise of due diligence.”

But here, the defendant just asserts that he “was not aware of the [conflict] issue at the time of

conviction or appeal.” (ECF No. 32 at 9.) But he alleges no specific facts about when he came

to learn the new information underlying his claim or how he exercised due diligence to discover

it. “[T]he petitioner bears the burden of proving that he exercised due diligence.” DiCenzi v.

Rose, 452 F.3d 465, 471 (6th Cir. 2006); accord Johnson v. United States, 457 F. App’x 462,

468 (6th Cir. 2012) (applying this rule to a petition under § 2255). Here, the defendant has failed

to meet that burden.

       In any event, the defendant’s claim fails on the merits. To be successful on an ineffective

assistance of counsel claim, a defendant generally must show that his counsel’s actions meet the

two-prong test announced in Strickland v. Washington. 466 U.S. 668 (1984). First, the defendant

“must show that counsel’s representation fell below an objective standard of reasonableness.”

Bacon v. Lee, 225 F.3d 470, 478 (4th Cir. 2000) (quoting Strickland, 466 U.S. at 688). This is a

high bar, as the defense counsel is entitled to a “strong presumption” that counsel’s strategy and

tactics fall “within the wide range of reasonable professional assistance.” United States v. Roane,

378 F.3d 382, 404 (4th Cir. 2004) (citing Strickland, 466 U.S. at 689). Second, a defendant must

demonstrate prejudice by showing “a reasonable probability that, but for counsel’s

unprofessional errors, the result of the proceedings would have been different.” Bacon, 225 F.3d

at 478 (citing Strickland, 466 U.S. at 694). The burden is on the defendant to “identify acts or

omissions of counsel” that are alleged to be unreasonable. Strickland. 466 U.S. at 690. A


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reviewing court must then determine whether “in light of all the circumstances, the identified

acts or omissions were outside the wide range of professionally competent assistance.” Id.

        The prejudice standard is different in the case of an alleged conflict of interest. In that

instance, a “lawyer's ‘concurrent representation’ of multiple clients … raises a ‘high probability

of prejudice.’” United States v. Dehlinger, 740 F.3d 315, 321–22 (4th Cir. 2014) (quoting

Mickens v. Taylor, 535 U.S. 162, 175, 122 (2002)). “Accordingly, the Supreme Court has held

that in concurrent representation cases, a defendant can establish a Sixth Amendment violation

by ‘showing ... defective performance, but not requiring in addition (as Strickland does in other

ineffectiveness-of-counsel cases), a showing of probable effect upon the outcome of trial.’” Id.

(quoting Mickens, 535 U.S. at 174). “In order to establish constitutionally deficient performance

on the basis of an alleged conflict of interest, a defendant … must establish that (1) ‘an actual

conflict of interest’ (2) ‘adversely affected his lawyer's performance.’” Id. at 322 (quoting

Cuyler v. Sullivan, 446 U.S. 335, 348 (1980)). “An actual conflict, which requires a defendant to

show that his counsel ‘actively represented conflicting interests,’ is the ‘constitutional predicate’

for an ineffective assistance claim.” Id. (quoting Cuyler, 446 U.S. at 350). The mere probability

of a conflict is insufficient.

        Finally, to show that a purported conflict adversely affected a lawyer’s performance, a

defendant must satisfy a three-part test:

        First, the [defendant] must identify a plausible alternative defense strategy or tactic
        that his defense counsel might have pursued. Second, the [defendant] must show
        that the alternative strategy or tactic was objectively reasonable under the facts of
        the case known to the attorney at the time of the attorney's tactical decision....
        Finally, the [defendant] must establish that the defense counsel's failure to pursue
        that strategy or tactic was linked to the actual conflict.

Id. (quoting Mickens v. Taylor, 240 F.3d 348, 361 (4th Cir. 2001) (en banc)).

        The defendant cannot satisfy these standards. Even assuming that his lawyer actually did

simultaneously represent him and another witness, Van Faggins, who planned to testify against

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him (ECF No. 33 at 3), he has not shown that any purported conflict adversely affected his

lawyer’s performance. Instead, he faults his attorney for failing to argue that the government

breached his plea agreement by not seeking a later reduction in his sentence. (ECF No. 33 at 3–

4.) But, as a general rule, any decision about whether to seek a reduction in sentence is

discretionary. Indeed, courts consistently find that the government’s decision not to seek a

reduction is “properly” within its “discretion” unless a plea agreement expressly directs

otherwise. See, e.g., United States v. Butler, 272 F.3d 683, 686 (4th Cir. 2001). Provisions like

Rule 35(b) give the government “a power, not a duty, to file a motion [for modification of

sentence] when a defendant has substantially assisted.” Wade v. United States, 504 U.S. 181,

185 (1992).2

        Thus, both for timeliness reasons and on the merits, the defendant’s ineffectiveness claim

is unavailing.

                                           Conclusion

        The defendant can make neither the actual-innocence nor cause-and-prejudice showing

necessary to overcome his procedural default. The Fourth Circuit’s opinion in Gary, which

addressed a case on direct appeal, does not excuse the defendant from satisfying these

requirements on collateral review. Moreover, the defendant’s ineffectiveness claim appears to be

untimely and is otherwise without merit. The Court should therefore deny his habeas petition.




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      The government is attempting to obtain a copy of the defendant’s plea agreement. If the
plea agreement in fact obligated the government to file a sentence-reduction motion, the
government will promptly notify the Court.

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      Respectfully submitted,

      G. Zachary Terwilliger
      United States Attorney


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                                         Roseboro Notice

       Pursuant to the requirements of Roseboro v. Garrison, 528 F.2d 309 (4th Cir. 1975), and

Local Civil Rule 7(K), defendant is notified and warned of the following:

       1.      The government’s response in opposition to defendant’s habeas petition alleges

that defendant’s § 2255 motion is legally and factually deficient.

       2.      The Court can dismiss this action on the basis of the government’s response if the

defendant does not file a reply. The defendant is entitled to file a legal brief in opposition to the

one filed by the government. Such a brief must be filed within 21 days of the government’s

response.

       3.      If defendant disagrees with any facts stated by the government, defendant must

identify all facts with which defendant disagrees and must set forth defendant’s version of the

facts by offering affidavits (written statements signed before a notary public and under oath) or

by filing sworn statements (bearing a certificate that is signed under penalty of perjury).




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                              Certificate of Service

I hereby certify that on August 14, 2020, I served the foregoing by U.S. mail to:

       Lamont E. McCord
       Reg. No. 33071-183
       P.O. Box 340
       Salters, S.C. 29590




                                  By:                       /s/
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